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                     EXHIBIT B-1
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 DENVER COUNTY DISTRICT COURT                       DATE FILED
 Court Address:                                     July 30, 2024 9:11 AM
 1437 Bannock Street                                FILING ID: D6D15E602BBAD
                                                    CASE NUMBER: 2024CV32321
 Denver, CO 80202

 PLAINTIFF:

 VICTOR MOSES,

 v.

 DEFENDANTS:
                                                          COURT USE ONLY
 CITY AND COUNTY OF DENVER, COLORADO,
 DENVER HEALTH AND HOSPITAL AUTHORITY,
 TODD GENTRY, individually.
 STEPHEN MARINO, individually;
 ANTHONY NORMAN, individually;
 FELIPE CERVANTES, individually;
 KYLE CARTER, individually;
 JOHANNA AITKEN, individually;
 LISA AITKEN-NELSON, individually;
 JASON MOORE, individually;
 DAMON ROMAN, individually;
 E. M. ALFARO, individually;
 BRIAN CAMOZZI, individually;
 COURTNEY WHAM, individually;
 TAEGIN SUNG, individually.

 Plaintiff’s Counsel

 John R. Holland, #5246                                         Case Number:
 Anna Holland Edwards, #35811
 Erica Grossman, #39342                                              Division:
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  DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING
     OF COMPLAINT, COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY
                             COMPLAINT


1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim, cross-
   claim or third party complaint in every district court civil (CV) case. It shall not be filed in
   Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV), or Mental
   Health (MH) cases or in Water (CW) proceedings subject to sections 37-92-302 to 37-92-
   305, C.R.S. Failure to file this cover sheet is not a jurisdictional defect in the pleading but
   may result in a clerk’s show cause order requiring its filing.

2. Simplified Procedure under C.R.C.P. 16.1 applies to this case unless (check one box below
   if this party asserts that C.R.C.P. 16.1 does not apply);

       q     This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other
       similar expedited proceeding, or

       x     This party is seeing a monetary judgment against another party for more than
       $100,000.00 exclusive of interest and costs, as supported by the following certification:

           By my signature below and in compliance with C.R.C.P. 11, based on information
           reasonably available to me at this time, I certify that the value of this party’s claims
           against one of the other parties is reasonably believed to exceed $100,000.

Or

       q     Another party has previously filed a cover sheet stating at C.R.C.P. 16.1 does not
       apply to this case.


3.   x This party makes a Jury Demand at this time and pays the requisite fee. See
C.R.C.P. 38. (Checking this box is optional.)




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Date: July 30, 2024    HOLLAND, HOLLAND EDWARDS & GROSSMAN, LLC


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